        Case 8:17-bk-12213-ES                Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                             Desc
                                              Main Document    Page 1 of 12
                                   UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                   SANTA ANA DIVISION


In re: SOLID LANDINGS BEHAVIORAL HEALTH, §                                          Case No. 17-12213
       INC. et al.,                      §
                                                                                    Lead Case No. 17-12213
                                         §
                    Debtor(s)            §                                              Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 12/31/2021                                                            Petition Date: 06/01/2017



Plan Confirmed Date:02/28/2018                                                       Plan Effective Date: 04/09/2018


This Post-confirmation Report relates to:     Reorganized Debtor
                                             Other Authorized Party or Entity: Liquidating Trust of Solid Landings Behavioral Health , Inc.
                                                                                   Name of Authorized Party or Entity




/s/ Howard Grobstein                                                    Howard Grobstein, Liquidating Trustee
Signature of Responsible Party                                           Printed Name of Responsible Party
01/14/2022
Date                                                                    6300 Canoga Avenue Suite 1500W
                                                                        Woodland Hills, CA 91367
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




UST Form 11-PCR (12/01/2021)                                      1
        Case 8:17-bk-12213-ES                       Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                           Desc
                                                     Main Document    Page 2 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,                                               Case No. 17-12213


Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                         $475,268              $1,275,977
 b. Non-cash securities transferred                                                                          $0                    $0
 c. Other non-cash property transferred                                                                      $0                    $0
 d. Total transferred (a+b+c)                                                                        $475,268              $1,275,977

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
                                                                                         $0      $180,459             $0       $180,459
        incurred by or on behalf of the debtor              Aggregate Total
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Levene, Neal Bender Yoo & B Lead Counsel                                $0       $70,376             $0        $70,376
        ii       Landau Gottfried & Berger, LL Special Counsel                           $0      $100,217             $0       $100,217
        iii      Barbara Crofts                     Financial Professional               $0        $1,650             $0         $1,650
        iv       Hardesty LLC                       Financial Professional               $0        $1,650             $0         $1,650
        v        GGG Partners LLC                   Financial Professional               $0        $6,566             $0         $6,566
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        xvi
        xvii
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UST Form 11-PCR (12/01/2021)                                              2
       Case 8:17-bk-12213-ES        Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54        Desc
                                     Main Document    Page 3 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,            Case No. 17-12213


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UST Form 11-PCR (12/01/2021)                           3
       Case 8:17-bk-12213-ES                     Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                           Desc
                                                  Main Document    Page 4 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,                                            Case No. 17-12213


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       c
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                                                                             Approved       Approved     Paid Current     Paid
                                                                           Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
                                                                                      $0            $0             $0           $0
       incurred by or on behalf of the debtor            Aggregate Total
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i                                                                              $0            $0             $0           $0
       ii
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UST Form 11-PCR (12/01/2021)                                           4
       Case 8:17-bk-12213-ES        Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54        Desc
                                     Main Document    Page 5 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,            Case No. 17-12213


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UST Form 11-PCR (12/01/2021)                           5
       Case 8:17-bk-12213-ES        Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54        Desc
                                     Main Document    Page 6 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,            Case No. 17-12213


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UST Form 11-PCR (12/01/2021)                           6
            Case 8:17-bk-12213-ES                   Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                               Desc
                                                     Main Document    Page 7 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,                                                  Case No. 17-12213


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            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                         $0      $180,459             $0       $180,459

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                     % Paid of
                                                  Payments            Paid Current                                               Allowed
                                                 Under Plan             Quarter           Paid Cumulative    Allowed Claims       Claims
 a. Administrative claims                                  $135,000              $0               $180,459           $180,459       100%
 b. Secured claims                                              $0               $0                    $0                  $0          0%
 c. Priority claims                                        $201,572              $0               $289,502           $289,502        100%
 d. General unsecured claims                         $63,277,832                     $0                $0          $63,277,832         0%
 e. Equity interests                                            $0               $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                              Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                    Yes     No




UST Form 11-PCR (12/01/2021)                                              7
        Case 8:17-bk-12213-ES              Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                           Desc
                                            Main Document    Page 8 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,                                      Case No. 17-12213




                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/Howard Grobstein                                                   Howard Grobstein
Signature of Responsible Party                                         Printed Name of Responsible Party
Liquidating Trustee                                                    01/14/2022
Title                                                                  Date




UST Form 11-PCR (12/01/2021)                                     8
       Case 8:17-bk-12213-ES        Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54          Desc
                                     Main Document    Page 9 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,              Case No. 17-12213




                                                          Page 1




                                                       Other Page 1




                                                  Page 2 Minus Tables




                                                  Bankruptcy Table 1-50



UST Form 11-PCR (12/01/2021)                              9
       Case 8:17-bk-12213-ES        Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54               Desc
                                     Main Document    Page 10 of 12
Debtor's Name SOLID LANDINGS BEHAVIORAL HEALTH, INC. et al.,                   Case No. 17-12213




                                                 Bankruptcy Table 51-100




                                                 Non-Bankruptcy Table 1-50




                                                Non-Bankruptcy Table 51-100




                                                   Part 3, Part 4, Last Page




UST Form 11-PCR (12/01/2021)                               10
        Case 8:17-bk-12213-ES                     Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                                      Desc
                                                   Main Document    Page 11 of 12



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    LANDAU LAW LLP, 2338 Manning Avenue, Los Angeles, CA 90064.

A true and correct copy of the foregoing document entitled (specify): Post-Confirmation Report will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 14, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On (date) January 14, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

No Chambers Copies Pursuant to the Court’s General Order 21-05 and Courtroom Policies and Procedures for
Honorable Erithe A. Smith Courtroom 5A

United States Trustee (SA)                                     Susan Goodman                            Travis Easton
Office of the United States Trustee                            Mesch Clark Rothschild                   Easton & Easton
411 W Fourth St., Suite 7160                                   259 North Meyer Avenue                   750 Town Center Dr. Ste 1850
Santa Ana, CA 92701-4593                                       Tucson, AZ 85701                         Costa Mesa, CA 92626

Levene, Neale Bender Rankin & Brill LLP                        Gabriel M Lara
10250 Constellation Blvd Ste 1700                              521 La Serewa Dr
Los Angeles, CA 90067                                          Covina, CA 91723

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)______I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

No Chambers Copies Pursuant to the Court’s General Order 21-05 and Courtroom Policies and Procedures for
Honorable Erithe A. Smith Courtroom 5A

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 January 14, 2022                            Anastasia Vedrova                    /s/ Anastasia Vedrova
 Date                                        Printed Name                         Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:17-bk-12213-ES                     Doc 643 Filed 01/14/22 Entered 01/14/22 14:37:54                                      Desc
                                                   Main Document    Page 12 of 12


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) (continued):
    • Franklin C Adams franklin.adams@bbklaw.com, arthur.johnston@bbklaw.com;lisa.spencer@bbklaw.com
    • Bret D. Allen ca.ecf@bretallen.com, bankruptcy@theallenlawfirm.com
    • Ismail Amin iamin@talglaw.com,
       dflandez@talglaw.com;jfigueroa@talglaw.com;kvang@talglaw.com;shalberstadt@talglaw.com
    • Adam N Barasch anb@severson.com, elw@severson.com
    • Joseph Corrigan Bankruptcy2@ironmountain.com
    • Jennifer Witherell Crastz jcrastz@hrhlaw.com
    • Christine R Etheridge christine.etheridge@ikonfin.com
    • Nathan Fransen nathan@fmattorney.com, deforest@fmattorney.com
    • Thomas M Gaa tgaa@bbslaw.com
    • Jeffrey Garfinkle jgarfinkle@buchalter.com, docket@buchalter.com;dcyrankowski@buchalter.com
    • Nancy S Goldenberg nancy.goldenberg@usdoj.gov
    • Michael I. Gottfried mgottfried@elkinskalt.com
    • Mirco J Haag mhaag@buchalter.com, dcyrankowski@buchalter.com;docket@buchalter.com
    • Mark S Horoupian mhoroupian@sulmeyerlaw.com,
       mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerlaw.com
    • Tae-Yoon Kim tae.kim@cellinoandbarnes.com
    • Stuart I Koenig Skoenig@leechtishman.com, sfrey@leechtishman.com;jabrams@leechtishman.com
    • Scott A Kron scott@kronandcard.com
    • Jeffrey S Kwong jsk@lnbyg.com, jsk@ecf.inforuptcy.com
    • Mohammed Lala mohammed.lala@aissolution.com
    • Jennifer Altfeld Landau jlandau@landaufirm.com,
       srichmond@landaufirm.com;vrichmond@landaufirm.com;avedrova@landaufirm.com;hrichmond@landaufirm.com
    • Rodger M. Landau rlandau@landaufirm.com,
       vrichmond@landaufirm.com;avedrova@landaufirm.com;hrichmond@landaufirm.com
    • Timothy J Lepore timothy.lepore@ropers.com, anthony.arriola@ropers.com
    • William K Mills mills@parkermillsllp.com, sally@parkermillsllp.com
    • Randall P Mroczynski randym@cookseylaw.com
    • David L. Neale dln@lnbyg.com
    • Queenie K Ng queenie.k.ng@usdoj.gov
    • Juliet Y. Oh jyo@lnbyg.com, jyo@lnbyb.com
    • Matthew J Olson olson.matt@dorsey.com, stell.laura@dorsey.com
    • Dipika Parmar dipika.parmar@aissolution.com
    • Steven G. Polard steven.polard@ropers.com, calendar-
       lao@ropers.com;keiko.kakiuchi@ropers.com;tiffany.sterling@ropers.com;anthony.arriola@ropers.com
    • Monica Rieder mrieder@landaufirm.com,
       vrichmond@landaufirm.com;avedrova@landaufirm.com;hrichmond@landaufirm.com
    • Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
    • David M Samuels david.samuels@lewisbrisbois.com, robin.nash-dankwa@lewisbrisbois.com
    • Shawn Shaffie shaffie@parkermillsllp.com, rodriguez@parkermillsllp.com
    • Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
    • Valerie Smith claims@recoverycorp.com
    • Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
    • Eugenia L Steele , EUGLYNN@ME.COM
    • Annie Y Stoops annie.stoops@arentfox.com, yvonne.li@arentfox.com
    • Cathy Ta cathyta@cathyta.net
    • United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
    • Michael D Vanlochem janguiano@vandc.net
    • Joseph M Welch jwelch@buchalter.com, dcyrankowski@buchalter.com;docket@buchalter.com
    • S Christopher Yoo cyoo@alvaradosmith.com, vdelgado@alvaradosmith.com
    • Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;myuen@elkinskalt.com



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
